 

Case 1:10-cv-20004-|\/|GC Document 80 Entered on FLSD Docl<et 08/30/2010 Page 1 of 2

UN|TED STATES D|STR|CT COURT
SOUTHERN D|STR|CT OF FLOR|DA

CASE NO. 10-20004-ClV-COOKE/BANDSTRA
W|LL|AM RAK|P,
Plaintiffs,
v.
PARAD|SE AWN|NGS CORPORAT|ON,
a Florida corporation, l\/|ANUEL ALC|BAR,
and JUAN CHAV|ANO, individua||y,

Defendant.

ORDER

 

TH|S CAUSE came before the Court on Defendants’ l\/lotion to Compel P|aintiffs to
Return Sto|en Documents (D.E. 40) filed on July 29, 201 O. Upon review of this motion, the
response and reply thereto, the court file and applicable laW, it is hereby

ORDERED AND ADJUDGED that Defendants’ Motion to Compe| P|aintiffs to Return
Sto|en Documents is GRANTED to the extent that plaintiffs shall return the originals and
all copies of the subject stolen documents Within five days ofthe date of this Order. lssues
concerning the admissibility of the subject documents is reserved for ruling at time of tria|.
Nothing in this Order precludes plaintiffs from requesting these documents through
discovery in accordance with the Federal Ru|es of Civil Procedure.

DONE AND ORDERED in Chambers, at N|iami, Florida thi$_Q-'day of Augustl 2010.
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Ted E. Bandstra
United States l\/lagistrate Judge

 

 

Case 1:10-cv-20004-|\/|GC Document 80 Entered on FLSD Docl<et 08/30/2010 Page 2 of 2

Copies furnished to:
Honorab|e Marcia G. Cooke
Counsel of record

